Case 4:16-cv-00362-ALM Document 53 Filed 06/16/17 Page 1 of 5 PageID #: 3037



                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

AMY WHITLEY, individually and                    §
as next friend to L.K.W,                         §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §        CIVIL ACTION NO. 4:16-cv-00362
                                                 §
DR PEPPER SNAPPLE GROUP, INC.,                   §
                                                 §
       Defendant.                                §

                MOTION TO CONSOLIDATE AND BRIEF IN SUPPORT

       Pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule CV-42, Defendant Dr

Pepper Snapple Group, Inc. (“DPSG”) moves to consolidate this case with Amy Whitley,

individually and as next friend to L.K.W and L.Q.W. v. Dr Pepper Snapple Group, et al., Civil

Action No. 4:17-cv-0047 (the “ERISA Case”), which is also pending before this Court.

                                            I.
                                       BACKGROUND

A.     This case and the ERISA Case involve the same allegations of denied coverage for
       certain autism treatment to Plaintiff and her sons.

       On April 28, 2016, Plaintiff filed this lawsuit in state court against her current employer,

DPSG. Dkt. #3 (Petition). DPSG removed the case to this Court on May 31, 2016. Dkt. # 1

(Removal). Plaintiff alleges that DPSG “discriminated and retaliated against her in violation of

the Americans with Disabilities Act of 1990 (‘ADA’) after it denied coverage for Applied

Behavior Analysis Treatment (‘ABA Treatment’), a form of therapy for autism spectrum

disorder,” to her minor son, L.K.W. Dkt. #40 (Order on MSJ). Plaintiff and her son are insured

under DPSG’s Health Plan (the “Plan”), which does not cover ABA Treatment. Id. Plaintiff

claims that the Plan’s failure to cover ABA Treatment, and DPSG’s amendment in 2016 to


                                                1
Case 4:16-cv-00362-ALM Document 53 Filed 06/16/17 Page 2 of 5 PageID #: 3038



expressly exclude such treatment from the Plan, constitutes discrimination and retaliation under

the ADA. Dkt. #3 (Petition).

       Plaintiff filed the ERISA Case in this Court on behalf of herself and both of her minor

sons—L.K.W. and L.Q.W.—on January 19, 2017. ERISA Case, Dkt. #1 (Complaint). Plaintiff

filed the ERISA Case as a separate action because the deadline for amending pleadings in this

ADA case had passed on October 26, 2016. Dkt. #24 (Scheduling Order). Plaintiff amended the

Complaint in the ERISA Case on March 11, 2017, which alleges that DPSG and the Plan have

violated ERISA because the Plan does not cover ABA Treatment for her sons. ERISA Case,

Dkt. #6 (First Amended Complaint).

       The same nucleus of facts applies to all of Plaintiff’s claims in both cases. She alleges

that she and her children were denied coverage for ABA Treatment under an ERISA governed

Plan. In one case she asserts that this denial of coverage violates the ADA, and in the other she

claims that it violates ERISA.

                                        II.
                             ARGUMENT AND AUTHORITIES

A.     Consolidation is proper for lawsuits involving common questions of law and fact.

       Federal Rule of Civil Procedure 42(a) “provides district courts with broad authority to

consolidate actions that ‘involve a common question of law or fact.’” Luera v. M/V Alberta, 635

F.3d 181, 194 (5th Cir. 2011) (quoting Fed. R. Civ. P. 42(a)); see also Frazier v. Garrison I.S.D.,

980 F.2d 1514, 1531 (5th Cir. 1993) (“Under F.R.Civ.P. 42(a), a trial court may consolidate

multiple actions if the actions involve common questions of law or fact.”). “Consolidating

actions in a district court is proper when the cases involve common questions of law and fact and

the district court finds that it would avoid unnecessary costs or delay.” Dillard v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 961 F.2d 1148, 1161 (5th Cir. 1992). Applying this standard,

                                                2
Case 4:16-cv-00362-ALM Document 53 Filed 06/16/17 Page 3 of 5 PageID #: 3039



“[c]ourts frequently consolidate cases that substantially overlap.” United States v. Homeward

Residential, Inc., No. 4:12-CV-461, 2016 WL 777000, at *2 (E.D. Tex. Feb. 29, 2016) (Mazzant,

J.); see also Local Rule CV-42(a) (requiring parties for purposes of potential consolidation to

notify the court when an action “involves subject matter that either comprises all or a material

part of the subject matter or operative facts of another action”).

B.     The Court should consolidate this case with the ERISA Case.

       The relevant criteria dictate that the Court should consolidate this case and the ERISA

Case. Both cases are pending in this Court before the same judge. All of the parties to this case

are also parties to the ERISA case. And most importantly, the two cases present common

questions of law and fact. Plaintiff’s claims are virtually identical in both cases: she takes issue

with the 2013 Summary Plan Description—which does not specifically mention ABA

Treatment—as well as the 2016 Summary Plan Description—which expressly excludes ABA

Treatment from coverage—and she claims that the denial of coverage forms the basis for both

lawsuits. In the current case, she claims that refusing to cover ABA Treatment for herself and

one of her sons violates the ADA, and in the ERISA Case she claims that the very same denial of

coverage constitutes a violation of ERISA on behalf of herself and both of her sons because the

Plan applies “separate treatment limitations (here, exclusion of ABA therapy) that are applicable

only with respect to mental health or substance use disorder benefits.” ERISA Case, Dkt. #6

(First Amended Complaint). Both cases turn on the scope of coverage for autism spectrum

disorders under the 2013 and 2016 versions of the Plan, including specifically the denial of ABA

Treatment and the reasons therefor. Forcing the parties to litigate the same controlling legal and

factual issues in both cases will result in unnecessary cost and inefficient use of judicial

resources.



                                                  3
Case 4:16-cv-00362-ALM Document 53 Filed 06/16/17 Page 4 of 5 PageID #: 3040



                                            III.
                                        CONCLUSION

       For these reasons, DPSG asks the Court to enter an order consolidating this case and the

ERISA Case, ordering that the Clerk of the Court merge the two cases into one lawsuit, and

providing any and all other relief regarding consolidation of the cases to which DPSG is entitled.




                                             Respectfully Submitted,

                                             OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.

                                             /s/ Gavin S. Martinson
                                             Andrew T. Turner
                                             Texas Bar No. 24008968
                                             andrew.turner@ogletreedeakins.com
                                             Gavin S. Martinson
                                             Texas Bar No. 24060231
                                             gavin.martinson@ogletreedeakins.com
                                             Preston Commons West
                                             8117 Preston Road, Suite 500
                                             Dallas, Texas 75225
                                             Telephone: (214) 987-3800
                                             Fax: (214) 987-3927

                                             Eric P. Mathisen
                                             Indiana Bar No. 19475-71
                                             eric.mathisen@ogletreedeakins.com
                                             56 S. Washington St., Suite 302
                                             Valparaiso, IN 46383
                                             Telephone:     (219) 242-8666
                                             Fax: (219) 242-8669

                                             ATTORNEYS FOR DEFENDANT




                                                4
Case 4:16-cv-00362-ALM Document 53 Filed 06/16/17 Page 5 of 5 PageID #: 3041



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of June, 2017, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF system of filing, which will transmit a
Notice of Electronic Filing to all counsel of record.



                                            /s/ Gavin S. Martinson
                                           Gavin S. Martinson



                            CERTIFICATE OF CONFERENCE

       I hereby certify that on June 9, 2017, I complied with the meet and confer requirement in
Local Rule CV-7(h) by conferring via telephone with counsel for Plaintiff (Austin England and
Jodi Bouer), who stated Plaintiff is opposed to this Motion. Discussions regarding consolidation
have ended in impasse, leaving an open issue for the Court to resolve.



                                            /s/ Gavin S. Martinson
                                           Gavin S. Martinson




                                                                                        30144452.1




                                               5
